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ARCHER & GREINER, P.C.                                             Presentment Date: March 13, 2019
630 Third Avenue                                                   Presentment Time: 12:00 Noon
New York, New York 10017
Tel: (212) 682-4940
Allen G. Kadish
Harrison H.D. Breakstone
Email: akadish@archerlaw.com
        hbreakstone@archerlaw.com

Proposed Counsel for Park Monroe Housing
Development Fund Corporation, Northeast
Brooklyn Partnership and 984-988 Greene
Avenue Housing Development Fund Corporation,
Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------x

In re:                                                             Chapter 11

PARK MONROE HOUSING DEVELOPMENT                                    Case No. 19-40820 (CEC)
  FUND CORPORATION,

               Debtor.

--------------------------------------------------------------x

In re:                                                             Chapter 11

NORTHEAST BROOKLYN PARTNERSHIP,                                    Case No. 19-40822 (CEC)

               Debtor.

--------------------------------------------------------------x

In re:                                                             Chapter 11

984-988 GREENE AVENUE HOUSING                                      Case No. 19-40823 (CEC)
   DEVELOPMENT FUND CORPORATION,

               Debtor.

--------------------------------------------------------------x

                    NOTICE OF PRESENTMENT OF DEBTOR’S
              MOTION FOR ORDER DIRECTING JOINT ADMINISTRATION
      Case 1-19-40822-cec         Doc 9    Filed 02/15/19     Entered 02/15/19 17:40:30




               PLEASE TAKE NOTICE that upon the motion (the “Motion”) of PARK

MONROE HOUSING DEVELOPMENT FUND CORPORATION, NORTHEAST BROOKLYN

PARTNERSHIP         AND     984-988    GREENE        AVENUE       HOUSING       DEVELOPMENT

CORPORATION (collectively, the “Debtors”), the Debtors seek an order directing joint

administration of the Debtors’ Chapter 11 cases, and granting related relief.

               PLEASE TAKE FURTHER NOTICE that the Motion will be presented to the

Honorable Carla E. Craig, United States Bankruptcy Judge, in Chambers, at the United States

Bankruptcy Court for the Eastern District of New York, 271-C Cadman Plaza East, Suite 1595,

Brooklyn, New York 11201-1800, for signature on Wednesday, March 13, 2019 at 12:00 Noon

(the “Presentment Date”).

               PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief sought

in the Motion must be (i) electronically filed with the Bankruptcy Court; (ii) delivered to the

Chambers of the Honorable Carla E. Craig; (iii) served upon Archer & Greiner, P.C., proposed

counsel to the Debtors, Attn: Allen G. Kadish, Esq., 630 Third Avenue, New York, New York

10017; and (iv) served upon the Office of the United States Trustee, 201 Varick Street, New York,

New York 10014, so as to be filed and received no later than Wednesday, March 13, 2019 at 11:30

a.m. (the “Objection Deadline”).

               PLEASE TAKE FURTHER NOTICE THAT if no objections are timely filed

and served, the Debtors may, on or after the Objection Deadline, submit the Order to the Court

substantially in the form annexed hereto which Order may be entered on or after the Presentment

Date with no further notice or opportunity to be heard offered to any party.




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Dated: New York, New York              ARCHER & GREINER, P.C.
       February 15, 2019
                                       By:    s/ Allen G. Kadish
                                           Allen G. Kadish
                                           Harrison H.D. Breakstone
                                       630 Third Avenue
                                       New York, New York 10017
                                       Tel: (212) 682-4940
                                       Email: akadish@archerlaw.com
                                              hbreakstone@archerlaw.com

                                       Proposed Counsel for Park Monroe Housing
                                       Development Fund Corporation, Northeast
                                       Brooklyn Partnership and 984-988 Greene
                                       Avenue Housing Development Fund Corporation,
                                       Debtors and Debtors-in-Possession




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Proposed Counsel for Park Monroe Housing
Development Fund Corporation, Northeast
Brooklyn Partnership and 984-988 Greene
Avenue Housing Development Fund Corporation,
Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------x

In re:                                                             Chapter 11

PARK MONROE HOUSING DEVELOPMENT                                    Case No. 19-40820 (CEC)
  FUND CORPORATION,

               Debtor.

--------------------------------------------------------------x

In re:                                                             Chapter 11

NORTHEAST BROOKLYN PARTNERSHIP,                                    Case No. 19-40822 (CEC)

               Debtor.

--------------------------------------------------------------x

In re:                                                             Chapter 11

984-988 GREENE AVENUE HOUSING                                      Case No. 19-40823 (CEC)
   DEVELOPMENT FUND CORPORATION,

               Debtor.

--------------------------------------------------------------x

              MOTION FOR ORDER DIRECTING JOINT ADMINISTRATION

TO THE HONORABLE CARLA E. CRAIG,
CHIEF UNITED STATES BANKRUPTCY JUDGE:
      Case 1-19-40822-cec          Doc 9    Filed 02/15/19     Entered 02/15/19 17:40:30




       PARK MONROE HOUSING DEVELOPMENT FUND CORPORATION (“Park

Monroe”), NORTHEAST BROOKLYN PARTNERSHIP (“NBP”) and 984-988 GREENE

AVENUE HOUSING DEVELOPMENT FUND CORPORATION (“Greene Avenue,” each a

“Debtor” and collectively, the “Debtors”), debtors and debtors-in-possession, as and for their

motion (the “Motion”) for an order, substantially in the form attached hereto as Exhibit A (the

“Proposed Order”), directing the joint administration of the Debtors’ Chapter 11 cases, and

granting related relief, respectfully represents as follows:

                                            Introduction

       1.      The Debtors, which, together operate twelve residential buildings in the vicinity of

northeast Brooklyn, respectfully seek entry of an Order pursuant to Rule 1015(b) of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), jointly administering their Chapter 11

cases for procedural purposes only. Joint administration of these cases will save valuable resources

of the Debtors’ estates and will avoid unnecessary duplication of effort.

                                      Jurisdiction and Venue

       2.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334. This matter is core within the meaning of 28 U.S.C. § 157(b)(2)(A). Venue is proper

pursuant to 28 U.S.C. § 1408.

       3.      The statutory basis for the relief requested herein is Bankruptcy Rule 1015(b).

                                            Background

       4.      On February 11, 2019 (the “Petition Date”), each of the Debtors filed voluntary

petitions for relief under Chapter 11of title 11 of the Bankruptcy Code (the “Bankruptcy Code”).

       5.       The factual background regarding the Debtors, including their current and

historical business operations and the events precipitating the Chapter 11 filings, is set forth in



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detail in the Declaration of Jeffrey E. Dunston Pursuant to Local Bankruptcy Rule 1007-4 filed in

support of each of the Chapter 11 petitions herein (the “First Day Declarations”), incorporated

herein by reference.

       6.      The Debtors continue in possession of their property and continue to operate and

manage their businesses as debtors-in-possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code.

       7.      No trustee or committee has been appointed in these cases.

       8.      The three Debtors in the above-captioned cases are Park Monroe, NBP and Greene

Avenue.

       9.      Park Monroe is a New York not-for-profit corporation that owns and operates five

residential buildings in Brooklyn.

       10.     NBP is a New York limited partnership that owns and operates five residential

buildings in Brooklyn.

       11.     Greene Avenue is a New York not-for-profit corporation that owns and operates

two residential buildings in Brooklyn.

       12.     The Debtors are all operated by Northeast Brooklyn Housing Development

Corporation (“NEB”) pursuant to individual property management and janitorial services

agreements.

       13.     NEB is the sole member of Park Monroe and Greene Avenue.

       14.     NEB is the sole member of both the general partner and limited partner of NBP.

       15.     NEB was incorporated in January 1985 as a 501-C(3) not-for-profit organization

with a mission to provide affordable rental housing to low-income residents of Central Brooklyn,

with an initial focus on advocacy through block associations and merchant and tenant organizing.



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         16.   Given that NEB is the sole member of each of the Debtors and given the purpose

of each Debtor and their structure, NEB conducts the operations of the Debtors and maintains the

administrative, financial and operational support for the Debtor.

                                         Relief Requested

         17.   The Debtors respectfully seek an order pursuant to Rule 1015(b), directing joint

administration of the Debtors’ Chapter 11 cases.

         18.    Bankruptcy Rule 1015(b) provides, in relevant part, that if two or more petitions

are pending in the same court by or against a debtor and an affiliate, the court may order the joint

administration of the estates of the debtor and such affiliates.

         19.   Each of the Debtors operate as separate, distinct entities. However, due to certain

commonalities with the Debtors’ operational structures and relationships to their management

services provider, the Debtors anticipate that notices, applications, motions, other pleadings,

hearings and orders in these cases may become duplicative if not jointly administered.

         20.   The Debtors and their estates would benefit from the efficiency associated with

eliminating duplication of effort.

         21.   Joint administration would permit the Clerk of the Court to use a single docket for

the Debtors’ Chapter 11 cases and to combine notices to creditors and other parties in interest.

Thus, use of a single docket would avoid duplicative notices, motions and orders, and assure that

hearings are conducted on the same days and times, for the convenience of the parties and the

Court.

         22.   The rights of creditors, several of which are common to two or more of the Debtors,

would not be adversely affected because the Motion requests only joint administration of the case,

and not substantive consolidation of the estates. Moreover, creditors will be required to file claims



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against each separate estate. Further, the rights of creditors would be promoted by the reduced

costs that would result from joint administration.

         23.     As set forth herein, the joint administration of these Chapter 11 cases is in the best

interests of the Debtors, their creditors and all parties in interest, including the Court. Accordingly,

the Debtors request that the official caption to be used by all parties in all pleadings in the jointly

administered cases be as follows:

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------x

In re:                                                             Chapter 11

PARK MONROE HOUSING DEVELOPMENT                                    Case No. 19-40820 (CEC)
  FUND CORPORATION, et al.,                                        (Jointly Administered)

               Debtors.

--------------------------------------------------------------x

         24.     The Debtors propose and request that all future entries for the Debtors’ cases be

made in the Park Monroe case, the first-filed case, under Case No. 19-40820 (CEC).

                                               No Prior Request

         25.     No prior request for the relief sought in this Motion has been made to this or any

other court.




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                                           Conclusion

        26.    For the reasons set forth above, this Motion should be granted and joint

administration directed.

        WHEREFORE the Debtors respectfully request that the Court enter an order directing joint

administration of the Debtors’ cases and granting the other relief requested herein, and such other

and further relief as may be just and proper.

Dated: New York, New York                       ARCHER & GREINER, P.C.
       February 15, 2019

                                                By:    s/ Allen G. Kadish
                                                    Allen G. Kadish
                                                    Harrison H.D. Breakstone
                                                630 Third Avenue
                                                New York, New York 10017
                                                Tel: (212) 682-4940
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                                                Proposed Counsel for Park Monroe Housing
                                                Development Fund Corporation, Northeast
                                                Brooklyn Partnership and 984-988 Greene
                                                Avenue Housing Development Fund Corporation,
                                                Debtors and Debtors-in-Possession




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------x

In re:                                                             Chapter 11

PARK MONROE HOUSING DEVELOPMENT                                    Case No. 19-40820 (CEC)
  FUND CORPORATION,

               Debtor.

--------------------------------------------------------------x

In re:                                                             Chapter 11

NORTHEAST BROOKLYN PARTNERSHIP,                                    Case No. 19-40822 (CEC)

               Debtor.

--------------------------------------------------------------x

In re:                                                             Chapter 11

984-988 GREENE AVENUE HOUSING                                      Case No. 19-40823 (CEC)
   DEVELOPMENT FUND CORPORATION,

               Debtor.

--------------------------------------------------------------x

                         ORDER DIRECTING JOINT ADMINISTRATION

         Upon the Motion for Order Direction Joint Administration (the “Motion”), of Park Monroe

Housing Development Fund Corporation (“Park Monroe”), Northeast Brooklyn Partnership

(“NBP”) and 984-988 Greene Avenue Housing Development Fund Corporation (“Greene

Avenue,” each a “Debtor” and collectively, the “Debtors”), debtors and debtors-in-possession in

the above-captioned Chapter 11 cases, for an order directing joint administration; and the Court

having considered the Motion and having determined that joint administration of these Chapter 11

cases is in the best interests of the Debtors, their respective estates, creditors and other parties in
         Case 1-19-40822-cec           Doc 9      Filed 02/15/19    Entered 02/15/19 17:40:30




interest; and it appearing that notice of the Motion was good and sufficient under the particular

circumstances and that no other or further notice need be given; and the Court having reviewed

the Motion, and the Declaration of Jeffrey E. Dunston Pursuant to Local Bankruptcy Rule 1007-4

filed in support of each of the Chapter 11 petitions; and upon the record herein; and after due

deliberation; and good and sufficient cause appearing; it is hereby:

         ORDERED that the Motion is GRANTED; and it is further

         ORDERED that the above-captioned Chapter 11 cases and shall be jointly administered by

the Court; and it is further

         ORDERED that the caption in the jointly administered case shall be:

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------x

In re:                                                             Chapter 11

PARK MONROE HOUSING DEVELOPMENT                                    Case No. 19-40820 (CEC)
  FUND CORPORATION, et al.,                                        (Jointly Administered)

               Debtors.

--------------------------------------------------------------x

and it is further

         ORDERED that the Clerk shall docket this Order in all three of the Debtors’ cases; and it

is further

         ORDERED that thereafter, all filings shall be made and all docket entries shall be

maintained in Case No. 19-40820 (CEC).




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